Case 3:12-cv-00996¢|\/|I\/|H-.]BT Document 1-1 Filed 09/10/12 Page 1 of 19 Page|D 7

COMPOSITE EXHIBIT A

 

Case 3:12-cv-00996'-|\/II\/|H-.]BT Document 1-1 Filed 09/1Q/12 Page 2 of 19 Page|D 8

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540 N.E. 4TH STREET 151 COLLEGE DR|VE

 

 

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sulTE 760 FoRT LAuDERDALE, FL 33301 sulTE1
sARAsoTA, FL 34236 oRANGE PARK, FL 32065
. TELEPHONE (954) 522-5400
TELEPHONE (904) 276-6171

 

FAX (954) 765-1274

WEB www.bn|aw.com FAK (904) 276¢1751

PLEASE REPLY TD:
C.BARBER

AT (£ PARK OFFICE
EMAIL' haber@:dau_com

TELEPHONE (941) 957-3400
FAX (941) 952-9103

August 6, 2012

VIA FACSIMILE AND U.S. MAIL

Elaine L. Bram

Healthcare Recoveries

P.O. Box 34060

Louisville, KY 40232-4060

Del Toro v. Liquori and Anderson

RE: Case .
Claim No. : 823 7778-8214640
Date of Loss : 06/05/2012
Dear Ms. Bram:

This is to acknowledge receipt of your August 6, 2012 correspondence claiming
benefits owed m the amount of $26, 938. 62. Please be advised that I represent Angel Del
Toro Sanchez, and you are governed by the F a1r Debt Collection Practices ct. Cease all
communication with my client and do not contact my client directly. At thi; t1me I do
not waive any defenses to your claim for benefits, and your claim 1s going to be
evaluated as it appears your claim for benefits has been waived. I have attached

supporting documentation for your review.

 

Please respond to this correspondence using the above Orange Park address.

 

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C~ase 3:12-cv-00996-|\/(|I\/|H-.]BT Document 1-1 Filed 09/10/12 Page 3 of
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Healcare Recoveries
,August 6, 2012
Page 2

SCB/sb
Enclosures

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Sean C, Barber

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Case 3:12-cv-OO996-|\/||\/|H-.]BT Document 1-1 Filed O9/10/12 Page 4 of 19 Page|D 10

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540 N.E. 4TH STREET 15

1800 SECOND STREET
FORT LAUDERDALE, FL 33301
ORA'¢

SU|TE 760
SARASOTA, FL 34236

 

TELEPHCNE (954) 522-54€0

 

COLLEGE DR|VE
SU|TE1
GE PARK, FL 32065

 

TELEPHONE (941) 957-3400 FAX (954) 765-1274 TELEFHONE (904) 276-6171
FAX (941) 952-9103 WEB www.bn|aw.com FAX (904) 276-1751
' PL EAsE REPL¥ T¢x
C. BARBER
. AT GE PARK (X=FIQE
BMIL' ber@tn|a\v.com
June 25 , 2012
CERTIFIED MAIL RETURN RECEIPT RE§ QUESTED
lndependence Blue Cross
1901 Market Street
Philadelphia, PA 19103-1480
RE: Case ' : » Del lToro v. Liquori and Anderson

Date of Loss : ` 06/05/2012

NOTICE OF COLLATERAL SOURCES

To Whom lt May Concern:_

Pursuant to Florida Statute 768 .76(6)(201 l) Angel Del Toro Sanchez

intends to

pursue a claim against the tortfeasors involved in the above referenced date of loss. You
will Waive any right to subrogation or reimbursement unless you provide a statement to
the undersigned attorney asserting payment of benefits and right of subrogation or

reimbursement within thirty (3 0) days following receipt of this notification

Please govern yourself accordingly.

Please respond to this correspondence using the above Orang` e Park add@s.

 

Case 3:12-cv-OO996-|\/||\/|H-.]BT Document 1-1 Filed O9/10/12 Page 5 of'19 Page|D 11

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lndependence Blue Cross Correspondence
June 25, 2012
Page 2

` cer y,

Sean C. Barber

SCB/sb'

 

Case 3:12-cv-OO996-|\/||\/|H-.]BT Document 1-1 Filed O9/10/12 Page 6 of 19 Page|D 12

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SENDEF\’: COMPLETE THIS SECT/ON

l Complet_e items 1, 21 and 3. A|so complete
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l Print your name and address on the reverse
so tha_t we can return the card to you.
l Attach thls card to the back of the mailp|eoe,
v or on the front lf_ space permits.

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Case 3:12-cv-OO996-|\/||\/|H-.]BT Document 1-1 Filed O9/10/12 Page 7 of

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540 N.E. 411-l STREET
FORT LAUDERDALE, FL 33301

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1800 SECOND STREET
SU|TE 760
SARASOTA, FL 34236

 

TELEPHONE (954) 522-54UJ
FAX (954) 765-1274
WEB www.bn|aw.com

 

TELEPHONE (941) 957-3400 TELE

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19 PagelD 13

1 COLLEGE DR|VE
SU|TE 1
NGE PARK, FL 32)65

 

PHONE (904)276-6171

tx (904) 276-1751

PLEASE REPLY`ID:
Si.-TAN C.BARBE`{

nolest PARK oFFICE

EMNL'

June 25, 2012

CERTIFIED MAIL RETURN RECEIPT REQUESTED

Adventist Risl< Management

 

P.O. BOX 4288
Silver Spring, MD 20914
~ RE: Case Del Toro v. Liquori and
' ` Date of Loss 06/05/2012
NOTICE OF COLLATERAL SOURCES
To Whom It May Concern:

Pursuant to Florida Statute 768.76(6)(2011) Angel Del Toro Sanchez

pursue a claim against the tortfeasors involved in the above referenced date c

will waive any right to subrogation or reimbursement unless you provide a. st
the undersigned attorney asserting payment of benefits and right of subrogati
reimbursement within thirty (3 0) days following receipt of this notification.

Please govern yourself accordingly.

y Please respond to this correspondence using the above Orange Parl< adc

sh’ber@lla¢_eom

Anderson

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Case 3:12-cv-OO996-MMH-JBT Document1-1 Filed O9/10/1

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Adventist Correspondence
June 25, 2012
Page 2

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Sean C. B”arber

SCB/sb

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19 Page|D 14

 

  
 

SENDER: COMPLETE THIS SECT/ON

 

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Case 3:12-cv-OO996-|\/||\/|H-.]BT Document 1-1 Filed O9/10/12 Page 9 of 19 Page|D 15

 

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so that we can return the card to you.
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Case 3:12-cv-OO996-|\/||\/|H-.]BT Document1-1 Filed O9/10/12 Page 10 of 19 Page|D 16

meanth

P. O. Box 34060
Louisvi|le, KY 40232-4060

Faxi 877-30910734

 

August 6 , 2012 V|A CERTIF|ED l\/|A|L

SEAN C BARBER

BOHDAN NESW|ACHENY

151 COLLEGE DR|VE SU|TE 1
ORANGE PARK FL 32065-

 

RE: Your Client: ANGEL DEL TORO
Health Plan: |NDEPENDENCE BLUE CROSS FAM|LY OF CO|V|PAN|ES
Date of lnjury: 6/5/2012
Event Number: 8237778 - 8214640

To Whom lt May Concern:

Healthcare Recoveries provides subrogation and recovery services to the Health Plan named above.
Your client is a subscriber to the Health Plan and the Health Plan has paid medi al benefits to or on
behalf of your client in connection with an injury. ’

The Health Plan has subrogation and/or reimbursement rights. Thus, the Health P|a has the right to be
reimbursed for medical benefits provided in the event that your client receives compe sation from another
source. Your client's full cooperation in the Health Plan' s recovery efforts ls requeste.

Shou|d your client, now or in the future, claim damages from a tortfeasor, this corres ondence shall serve
as notice that the above-referenced Health P|an, as a collateral source provider, he eby asserts both its
provision of collateral source benefits and its right of subrogation or reimbursement jhou|d F. S. A. 768. 76
be preempted due to your client's Health Plan being governed by applicablej federal statutes or
regulations (i..e FEHBA, ER|SA, l\/|edicare, etc.,) or other state statutes (i.e. Medicai ,etc.,) the foregoing
statement shall be inapplicable i

Healthcare Recoveries is in the process of placing all parties on notice that the Health Plan is a party With
an interest in any settlements in this matter. Please complete the attached question aire and return it in
the enclosed postage-paid envelope. lf the case is in |itigation, please attach a copy of the Complaint for

our records.

Shou|d you open settlement negotiations With any responsible party or insurer, plea e contact me so the
Health Plan’s interest can be addressed at the same time. However, should the case settle without the
Health Plan’s involvement, please retain an amount equal to the Health Plan’s interest in trust and contact
me in order to resolve this matter.

Sincere\y, , ,,.\

ghi/us l C)'\A/w\ lr_ AUB 0 9 2012 l'

ElaineLBram 1151 ?L=H =1=1=11. Pu_=,u 1=1135 ..................
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(800) 889-3531

 

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8237778 - 8214640/SFLATTY1

 

 

 

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Case 3:12-cv-OO996- |\/||\/||-|- .]BT Document 1- 1 Filed O9/10/12 Page 12 of 19 Page|D 18

FAx

To: SEAN C BARBER
company: BOHDAN NESWrAcHr-Jw
Fax: 19042761751

From: Elaine L Bram
Fax Number: (877) 309-073_4
Phone Number: (800) 889-3531
Reference #: 8237778-8214640

 

l
NOTES' Please provide a copy of the PLP ledger. Also, this ls not the final
lien amount. Please call before settlement and I will get the final l 1
ien pulled. Elaine Biam

 

NOT|CE OF CONF|DENTIAL|TY

111/s communication is directed solely to the Addressee and may contain confidential or legally privileged
Personal Health information protected by federal and state law.

If you are not the Addressee indicated above:

1. DO NOTread the following pages.

2. D0 NOT retain. copy, distribute, or disseminate the following pages.

3. Call the Sender IMMEDIA TELY (coiiect if necessary) and report the misdelivered fax.

NEITHER THE TRANSM/SSION OF THE ATI`ACHED PAGES. NOR ANY ERROR IN TRANSMISS/ON OR

MISD§L/VERY SHALL CONSTITUTE A WAlVER OF ANY APPL)CABLE LEGAL PRIVILEGE.

 

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HEALTHCARE RECOVER|ES

LOuiSviI|e, Kentucky 40232-4060 PAGE 1 OF 2

l P.O. Box 34060

CONSOL|DATED STATEMENT OF BENEFITS

FEDERAL TAX ID: XX-XXXXXXX
TELEPHONE NUMBER: (800

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PAT|ENT’S NAN|E'. ANGEL DEL TORO
DATE OF |NJURY: 6/5/2012 .
sEvacE PERloD: 615/2012-7/3/2012 S"ble°t i° °ha"ge'
EVENT NUMBER: 8237778~8214640
|nstructions:
o lf remitting payment, make checks payable to: Healthcare Recoveries.
o Write the patient’s name, ANGEL DEL TORO, and event number, 8237778-8214640, on the
check.
Provider of Service Diagnosis Code
1 Date of Service Procedure Code(s) _ C|aim Number Provided
§ - Benefits
` BC & BS OF FLOR|DA 801 .21 CLOSED SKULL BA IBO7301200512
6/5/2012 771 PREVENT|VE CARE SE $8.83
6/5/2012 306 LABORATORY $39.03
6/5/2012 300 LABORATORY $52.34
6/5/2012 271 MED|CAL/SURGICAL S $69.09
6/5/2012 272 MED|CAL/SURGICAL S $78.58
6/5/2012 440 SPEECH-LANGUAGE TH $109.96
6/5/2012 324 RAD|OLOGY - D|AGNO $170.87
6/5/2012 305 LABORATORY $214.38
6/5/2012 208 lNTENSlVE CARE ,_ . $260.26
6/5/2012 420 PHYSlCAL THERAPY 55266.59
6/5/2012 250 PHARMAC¥ 15268.97
6/5/2012 430 OCCUPAT|ONAL THERA $277.40
6/5/2012 301 LABORATORY $323.15
6/5/2012 258 PHARMACY $373.26
6/5/2012 320 RADlOLOGY - DlAGNO $821.93
6/5/2012 636 PHARMAC¥ $929.00
6/5/2012 208 lNTENSlVE CARE $1122.27
6/5/2012 450 EMERGENCY ROOM $1296.57
6/5/2012 352 CT SCAN $1338.24
6/5/2012 206 lNTENSlVE CARE $1723.49
6/5/2012 351 CT SCAN $3265.83
907.0 LATE EFFECT iNTR lBU709120027'
6/12/2012 ` 270 MED|CAL/SURGICAL S $72.36
6/12/2012 307 LABORATORY $80.50
6/12/2012 250 PHARMACY $149.11
6/12/2012 434 OCCUPAT|ONAL THERA $183.51
6/12/2012 424 PHYSlCAL THERAPY $207.70
6/12/2012 305 LABORATORY $210.20
6/12/2012 324 RADlOLOGY - DlAGNO $270.26
1 6/12/2012 320 RADlOLOGY - DIAGNO $298.20
1 6/12/2012 440 SPEECH-LANGUAGE TH $300.29
’ 6/12/2012 259 PHARMACY $342.41
i 6/12/2012 301 LABORATCRY $701.92
6/12/2012 420 PHYSlCAL THERAPY $861.24

 

 

 

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6. 2012 7:37AM No.5544

 

 

 

 

 

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HEALTHCARE RECOVER|ES

P.O. Box 34060

Louisvi||e, Kentucky 40232-4060
CONSOL|DATED STATEMENT OF BENEF|TS

FEDERAL TAX |D: 61- 1141758
TELEPHONE NUN|BER: (800) 889- 3531
PAGE 2 OF 2

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PAT|ENT’S NAME'.
DATE OF |NJURY:
SERV|CE PERIOD:
EVENT NUNlBER:

ANGEL DEL TORO
6/5/2012
6/5/2012-7/3/2012
8237778-8214640

Subject to change.

 

|nstructions:

o |f remitting payment, make checks payable to' Healthcare Recoveries.

o Write the patient’s name, ANGEL DEL TORO, and event number, 8237778- 82

14640, on the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

check.
Provider of Service Dia¢nosis Code
Date of Service Procedure Code(s) C|aim Number Provided
Benefits
6/12/2012 444 SPEECH-LANGUAGE TH $957.17
6/12/2012 430 OCCUPAT|ONAL THERA $1277.07
6/12/2012 921 OTHER DlAGNOST|C S $1462.66
6/12/2012 443 SPEECH-LANGUAGE TH $2627.52
6/12/2012 128 ROOM & BOARD - SEM $3123.84
854.00 BRAiN lNJURY OT |A07051206680
6/14/2012 99232 SUBSEQUENT HOSPl $55.66
854.00 BRAiN lNJURY OT IA07051202394
6/16/2012 99232 SUBSEQUENT HOSPl $47.31
l __ W 854.00 BRAiN lNJuRY oT 1A07121202011 mm
6/17/2012 99232 SUBSEQUENT HOSPl $59.13
854.00 BRAiN lNJURY OT lA07051202710
6/18/2012 99232 SUBSEQUENT HOSPl $55.66
6/19/2012 99232 SUBSEQUENT HOSPl $55.66
854.00 BRAiN lNJURY OT |A070512010816
6/20/2012 99232 SUBSEQUENT HOSPl $47.31
6/21/2012 99232 SUBSEQUENT HOSPl $2.40
854.00 BRAiN lNJURY OT 1A07121202011
6/22/2012 99232 SUBSEQUENT HOSPl $59. 13
854.00 BRAiN lNJURY OT IBOSO11200889
6/27/2012 420 PHYSlCAL THERAP¥ . $26.98
6/27/2012 420 PHYSlCAL THERAPV $27.69
6/27/2012 430 OCCUPAT|ONAL THERA $27.69
6/27/2012 420 PHYSlCAL THERAPY $69. 19
6/27/2012 430 OCCUPAT|ONAL THERA $74.28
854.00 BRAiN lNJURY OT l808011200703
7/3/2012 430 OCCUPAT|ONAL THERA $11.22
W&QTR 43OOCCUPAUONALTHERA $2448
7/3/2012 430 OCCUPAT|ONAL THERA $26.04
ZBQOQ 420PHYSCALTHERAPY $2698
WWQTQ 43OOCCUPAUONALTHERA $2769
7/3/2012 420 PHYSlCAL THERAPY $78.12
Tota| Benefits Provided $26,938.62 l Amount Received $0.00 `
Balance Due $26,938 62

 

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6. 2012 7:37AM No.5544

 

 

 

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HealthM;Ei/§@D”

P. O. Box 34060
Louisvi|le, KY 40232-4060

Fax: 877-309-()

734

 

August 9 , 2012

SEAN C BARBER

BOHDAN NESW|ACHENY

151 COLLEGE DR|VE SU|TE 1
ORANGE PARK FL 32065-

RE: Our lnsured/Memb'er: ANGEL DEL TORO
Health Plan: lNDEPENDENCE BLUE CROSS FAM|LY Oi- CUMPAN
Date of lnjury: 6/5/2012
Event Number: 8237778-8214640

Vour File/Claim Number:
Your lnsured/Client:

To Whom lt May Concern:

ES

Attached is an updated Conso|idated Statement of Benefits provided by the above-referenced Health
Plan to date. lt is our understanding that all of these benefits are related to the date of injury shown

above.

This total is not final. Please contact our office before settlement so we may give you the final figures
You should be aware that this Health Plan is a self-funded plan governed by the Ernp|oyee Retirement
income Security Act of 1974 (ER|SA), as amended. As such, any recovery language in the Plan is

generally enforceable as written. The Health Plan, therefore, has the right to be reimb
has provided in the event that any compensation is received from another source. |f
information or clarification, please contact us.

|f sending payment, please remember to include the Healthcare Recoveries> c
member name on/with the check.

Sincere|y,

g,@mu. l. @Nm\

Elaine L Bram
(800) 889-3531

8237778-8214640/UCSBE

ursed for benefits it
you require further

event number and

 

Received lime Aug. 9. 2012 7:37AM No. 5571

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HEALTHCARE RECOVER|ES FEDERAL TAX |D: XX-XXXXXXX

P.O. Box 34060 TELEPHONE NUN|BER: (800) 889-3531
Louisville, Kentucky 40232-4060 PAGE 1 OF 3

CONSOL|DATED STATEMENT OF BENEF|TS

PATlENT’S NAN|E: ANGEL DEL TORO

DATE OF |NJURY: 6/5/2012 .

sERV\cE PER\oD; 615/2012-7/26/2012 S“b’°°t 1° °ha"ge'
EVENT N UN|BER: 8237778-8214640

lnstructions:

o |f remitting payment, make checks payable to: Healthcare Recoveries.

o Write the patient’s name, ANGEL DEL TORO, and event number, 8237778-82‘|4640, on the

check.
Provider of Service Diagnosis Code
Date of Service Procedure Code(s) C|aim Number Provided
Benefits

BC & BS OF FLOR|DA ' 854.00 BRA|N lNJURY OT |B08031200560

6/29/2012 430 OCCUPAT|ONAL THERA $24.48
6/29/2012 430 OCCUPAT|ONAL THERA $26,04
6/29/2012 420 PHYSlCAL THERAP¥ $26.98
6/29/2012 430 OCCUPAT|ONAL THERA $27.69
6/29/2012 430 OCCUPAT|ONAL THERA $27.69
6/29/2012 420 PHYSlCAL THERAPY $78.12
BC & BS OF FLOR|DA 801.21 CLOSED SKULL BA lBO7301200512

6/5/2012 771 PREVENT|VE CARE SE $8.83
§1§12912___ . _ _ - 306 LABORATORY . _ t__§$$_~_o§.,
6/5/2012 ' 300 LABORATORY $52.34 _
6/5/2012 271 MED|CAL/SURGlCAL S $69.09
6/5/2012 272 MED|CAL/SURGlCAL S $78.58
6/5/2012 440 SPEECH-LANGUAGE TH $109.96
6/5/2012 324 RAD|OLOGY - D|AGNO $170.87
6/5/2012 305 LABORATORY $214.38
6/5/2012 208 lNTENSlVE CARE $260.26
6/5/2012 420 PHYSlCAL THERAPY $266.59
6/5/2012 250 PHARMACY $268.97
6/5/2012 430 OCCUPAT|ONAL THERA $277.40
6/5/2012 301 LABORATGRV $323.15
6/5/2012 258 PHARMACY $373.26
6/5/2012 320 RAD|OLOGY - D|AGNO $821.93
6/5/2012 636 PHARMACY $929.00
6/5/2012 208 lNTENSlVE CARE _ $1122.27
6/5/2012 450 EMERGENCY ROOM $1296.57
6/5/2012 . 352 CT SCAN $1338.24
6/5/2012 206 lNTENSlVE CARE $1723.49
6/5/2012 351 CT SCAN $3265.83

907.0 LATE EFFECT lNTR lBo7091200277

6/12/2012 270 MED|CAL/SURGICAL S $72.36
6/12/2012 307 LABORATORY $80.50
6/12/2012 250 PHARMACY $149.11
6/12/2012 434 OCCUPAT|ONAL THERA $183.51

6l12/2012 424 PHYSlCAL THERAPY $207.70

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Fax. gases:lz-cv-OOQ%-wve/teh Dr).cemem 1111 aim@Q/lot;vzloeagepez<oéeeei;>a@elf> 23

HEALTHCARE RECOVERIES 1 FEDERAl_ TAX lD: XX-XXXXXXX t
P.O. Box 34060 TELEPHONE NUMBER: (80 ) 889-3531
Louisville, Kentucky 40232-4060 PAGE 2 OF 3

CONSOL|DATED STATEMENT OF BENEF|TS

PAT|ENT’S NAN|E‘. ANGEL DEL TORO l
DATE OF lNJURY: 6/5/2012 Subj.ect `to change

 

SERV|CE PERlOD`: 6/5/2012-7/26/2012
EVENT NUMBER: 8237778-8214640
|nstructions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

c lf remitting payment, make checks payable to: Healthcare Recoveries
o Write the patient’s name, ANGEL DEL TORO, and event number, 8237778- 8214640, on the
check.
Provider of Service Diagnosis Code
Date of Service Procedure Code(s) C|aim Nurn'ber ' ' " Provided
Benefits

6/12/2012 305 LABORATORY $210.20

6/12/2012 324 RADlOLOGY - DlAGNO $270.26

6/12/2012 320 RAD|OLOGY - DlAGNO 1 $298.20

6/12/2012 440 SPEECH~LANGUAGE TH ' $300.29

6/12/2012 259 PHARMACY _ $342.41

6/12/2012 301 LABORATORY $701.92

6/12/2012 420 PHYSlCAL THERAPY $861.24

6/12/2012 444 SPEECH-LANGUAGE TH $957.17

6/12/2012 430 OCCUPAT|ONAL THERA $1277. 07

6/12/2012 921 OTHER DlAGNOST|C S $1462. _66 4

6/12/2012 443 SPEECH-LANGUAGE TH $2627. 52

6/12/2012 128 ROOM & BOARD - SEM $3123 84
854.00 BRAiN lNJURY OT |A07051206680

6/14/2012 99232 SUBSEQUENT HOSPl $55.66
854.00 BRAIN lNJURY OT |A070512023914

6/16/2012 99232 SUBSEQUENT HCSPl $47.31
854.00 BRAiN lNJURY OT |A07121202011

6/17/2012 99232 SUBSEQUENT HOSPl $59. 13
854.00 BRAIN lNJURY OT |A0705120271 9

6/18/2012 99232 SUBSEQUENT HOSPl $55.66

6/19/2012 99232 SUBSEQUENT HOSPl -, $55.66
854.00 BRAiN lNJURY OT |A0705120108$

6/20/2012 99232 SUBSEQUENT HOSPl $47.31

6/21/2012 99232 SUBSEQUENT HOSPl $2.40
854.00 BRA|N lNJURY OT lA07121202011

6/22/2012 99232 SUBSEQUENT HOSPl $59.13
854.00 BRAiN lNJURY OT |B0801120088§

6/27/2012 420 PHYSlCAL THERAPY $26.98

6/27/2012 420 PHYSlCAL THERAPY $27.69

6/27/2012 430 OCCUPAT|ONAL THERA ` $27.69

6/27/2012 420 PHYSlCAL THERAPY $69.19

6/27/2012 430 OCCUPAT|ONAL THERA $74.28
854.00 BRA|N lNJURY OT lB08011200703

7/3/2012 430 OCCUPAT|ONAL THERA ' $11.22

7/3/2012 430 OCCUPAT|ONAL THERA $24.48

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HEALTHCARE RECOVER|ES

P.O. Box 34060

Louisvil|e, Kentucky 40232-4060

CONSOL|DATED STATEMENT OF BENEFITS

FEDERAL TAx lo; 61-1-1417`58

TELEPHONE NUMBER: (800) 889-3531

PAGE 3 OF 3

 

PAT|ENT'S NAME'.
DATE OF lNJURY:
SERV|CE PERlOD'§
EVENT NUMBER:

ANGEL DEL TORO
6/5/2012
6/5/2012-7/26/2012
8237778-8214640

Subject to change.

 

|nstructions:

o |f remitting payment, make checks payable to: Healthcare Recoveries.
c Write the patient’s name, ANGEL DEL TORO, and event number, 8237778-82

14640, on the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

check.
Provider of Service Diagnosis Code
Date of Service Procedure Code(s) C|aim Number Provided
Benefits

7/3/2012 430 OCCUPAT|ONAL THERA $26.04
7/3/2012 420 PHYSlCAL THERAPY $26.98
7/3/2012 430 OCCUPAT|ONAL THERA $27.69
7/3/2012 420 PH¥SICAL THERAPY $78.12

BC & BS OF FLOR|DA 854.00 BRA|N lNJURY OT lB08031200683

7/10/2012 430 OCCUPAT|ONAL THERA $11.22

7/10/2012 430 OCCUPAT|ONAL THERA $24.48

7/10/2012 430 OCCUPAT|ONAL THERA $26.04
7/10/2012 420 PHYSlCAL THERAPY $26.98
_7_/1_9/29_1_2_____ v 430 occuPATloNAL THERA_ v_$g].§ve v

7/10/2012 420 PHYSlCAL THERAP¥ $78.12

BC & BS OF FLOR|DA 854.02 BRA|N lNJURY OT |A08061207920

7/26/2012 99213 OFF|CE/OUTPAT|EN $45.70
'Total Benefits Provided $27,389.85 l Amount Received $0.00

| Balance Due $27,38 .85

 

 

9. 2012 7:37AM No.5571

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Case 3:12-cv-00996-i\/|i\/|H-.]BT Document 1-1 Filed 09/10/12 Page 19 of 19 Page|D 25

IF WE DO NOT HAVE YOUR lNFORMAT|ON, OR lF ANY OF THE FOLLOW|NG HAS CHANGED SlNCE YOUR
LAST STATEMENT, FLEASE lNDlCATE..

 

 

 

 

 

 

 

 

 

 

 

 

 

PAT|ENT |NFORMAT|ON iNSURANCE iNFORMATlON
Your Name (Last. First, Middie lnitia|) Date of Binh Your PRIMARY insurance Company's Name
Address '_ Primary insurance Company’s Address
Cify Sfafe ZiP city Srate ap
Teiephone Po|icyhoider Name Date of Binh Sex
( v l _
S°C'al S€CU"!Y # Policyhoider's iD Number Group Plan Number
Employer’$ Name `r¢’l€i>h°ne Your SECONDARV insurance Company's Nama
( )
Emp|oyer'$ Address Secondary insurance Company’s Address
Ci\y Sfafe ZiP cary stare ? - zip
l
l
Please indicate if Appiioabie: Date of injury Poiicyho|der Name Date of Birth Sex
El AUTO ACC|DENT .
’ |
m wORKER,S CoMPENSAT|ON Policyhoiders lD Number v Group P an Number

 

 

 

 

“DETACH HERE AND RETURN ABOVE STUB”

 

FOR HOSPlTAL OR OTHER FAC|L|TY PAT|ENTS

 

YOU COULD RECElVE TWO OR MORE B|LLS FOR SERV|CES PROV|DED

 

 

TOTAL DlAGNOSTlC OFt TREATMENT COSTS

/ \ 4
PHYSlClAN OFt HOSPlTAL CHARGES; OR
PROV|DEF{’S FEE OTHER FAC|LlTY

 

 

 

 

 

 

 

 

 

This statement is not a duplicate charge, but a separation of
the facility and physician or provider’s fees.
These services were provided while you were under our care, or at the
Le_que_$l of your other physicians or providers

 

 

 

Your bill from the facility may include a separate charge
for use of its equipment, supplies, and technical personnei.

You may also receive bills from other physicians or providers who
were involved with your care if you were a patient in a hospital or
other facility

if you have any questions concerning your bill, please cali

our office and we will be happy to assist you.

IF YOU REQU|RE AS$|STANCE, YOU MAV CONTACT OUF\ OFFlCE AT THE
PHONE NUMBER ON THE REVERSE SIDE.

- PAP-201-OO

 

